AO 83 (Rev. 06/09) Summons in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                       Distrct District
                                                  __________   of Massachusetts
                                                                        of __________

                   United States of America                        )
                               v.                                  )
                                                                   )
                         Tanmaya Kabra                             )      Case No. 19-10335-DJC
                                                                   )
                                                                   )
                              Defendant                            )

                                                SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

u Indictment               u Superseding Indictment        u Information u Superseding Information                    u Complaint
u Probation Violation Petition            ✔ Supervised Release Violation Petition u Violation Notice
                                          u                                                                       u Order of Court

        U.S. District Court
Place: One Courthouse Way                                                       Courtroom No.: 11, 5th Floor
        Boston, MA 02210
                                                                                Date and Time: 05/19/2021 2:00 pm

          This offense is briefly described as follows:                                                BY VIDEOCONFERENCE




Date:              05/07/2021                                                            /s/ Haley E. Currie
                                                                                        Issuing officer’s signature

                                                                                Haley E. Currie, Deputy Clerk
                                                                                         Printed name and title



I declare under penalty of perjury that I have:

u Executed and returned this summons                           u Returned this summons unexecuted



Date:
                                                                                            Server’s signature



                                                                                         Printed name and title
